JS 44C/SDNY
REV. 06/01/17

ClVlL COVER SHEET

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
other papers as required by |aw, except as provided by local rules of court This form, approved by the Judicia| Conference of the
United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.

DEFENDANTS
NEW ENGLAND MOTOR FRE|GHT, |NC. and OTTO DAN|EL

PLA|NT|FFS
SUSAN VOLPE and RAYMOND VOLPE

ATTORNEYS (lF KNOWN)

TODD C. RUBENSTE|N, ESQ.

KRAMER, DlLLOFl L|V|NGSTON & MOORE 159 Eads Street, West Baby|on, NY 11704
217 Broadway, 10th F|oor, New York, NY 10007, (212) 267-4177 (631) 386-3100

CAUSE OF ACT|ON (C|TE THE U.S. C|V|L STATUTE UNDER WH|CH YOU ARE F|L|NG AND WR|TE A BR|EF STATEMENT OF CAUSB
(DO NOT C|TE JUR|SD|CT|ONAL STATUTES UNLESS D|VERS|TY)

Personal lnjury, Removal upon 28 USC Sections 1332, 1441 and 1446(b)

AT|'ORNEYS (F|RM NAME, ADDRESS, AND TELEPHONE NUMBER
JOHN P. BEA`|'FYl ESQ. ’

Judge Previously Assigned
Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time? No -Yes|:]

|f yes, was this case Vol. [:] |nvol. [:] Dismissed. No [:| Yes |:] |f yes, give date & Case No.
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Check if demanded in complaint
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AS DEF|NED BY LOCAL RULE FOR D|V|S|ON OF BUS|NESS 13?
lF SO, STATE:

CHECK |F TH|S |S ACLASS ACT|ON
UNDER F.R.C.P. 23

DEMAND 5 OTHER JUDGE DOCKET NUMBER

 

Check YES only if demanded in complaint

JURY DEMAND: [:| YES |XNO NOTE: You must also submit at the time of filing the Statement of Re|atedness form (Form lH-32).

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App&nme {Transferred) Magistrate Judge
l:l 3. all parties represented Coun

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is pro se.
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l___| 1 u.s. PLAiNTiFF [:| 2 u.s. DEFENDANT |:l 3 FEDERAL QuEsTioN
(u.s. NOT A PARTY)

BAS|S OF JURISD|CT|ON
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[:| 8 Multidistrict Litigation (Direct Fi|e)

IF DIVERSITY, INDICA TE
CITIZENSHIP BELOW.

C|TlZENSH|P OF PR|NC|PAL PART|ES (FOR D|VERS|TY CASES ONLY)

(Place an [X] in one box for Plaintiff and one box for Defendant)

PTF DEF PTF DEF PTF DEF
C|TlZEN OF TH|S STATE [><]1 [ ]1 C|TlZEN OR SUBJECT OF A [ ]3[ ]3 lNCORPORATED and PR|NC|PAL PLACE [ ]5 [X] 5
FORE|GN COUNTRY OF BUS|NESS lN ANOTHER STATE
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PLNNnFHs)ADDREssES)ANDcouNTYuES
Susan Volpe and Raymond Volpe
530 East 86th Street
Apt. 9A
New York, NY 10028
NeW York County
DEFENDANNS)ADDRES&ES)ANDCouNTYuE$
New England Motor Freight, |nc. Otto Daniel
1-71 North Avenue East 439 East 35th Street
Elizabeth, NJ 07201 Patterson, NJ 07504
Union County Passaic County
z

DEFENDANT(S) ADDRESS UNKNOWN

REPRESENTAT|ON |S HEREBY MADE THAT, AT TH|S T|ME, | HAVE BEEN UNABLE, W|TH REASONABLE D|L|GENCE, TO ASCERTA|N

THE RES|DENCE ADDRESSES OF THE FOLLOW|NG DEFENDANTS:

COURTHOUSE ASS|GNMENT
l hereby certify that this case should be assigned to the courthouse indicated below pursuant to Loca| Ru|e for Division of Business 18, 20 or 21.

 
 
 

TH|S ACT|ON 5 OULD BE ASS|GNED TO:

Check one:
DATE 7/19/18 3113. R i= TToRNEY 0F RECORD
REcEiPT #

Magistrate Judge is to e designated by the Clerk of the Court.

Magistrate Judge

\:| WH|TE PLAINS

[E MANHATTAN

ADM|TTED TO PRACT|CE |N TH|S D|STR|CT

l l NO

[)d YES (DATE ADM|TTED l\l|o.JU"e Yr. 1993 )
Attorney Bar Code # TR-3334

is so Designated.

 

Ruby J. Krajick, Clerk of Court by Deputy Clerkl DATED

UN|TED STATES D|STR|CT COURT (NEW YORK SOUTHERN)

